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                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   NO. CR 18-MJ-71724 SK
                                                      )
14           Plaintiff,                               )   STIPULATION TO EXCLUDE TIME FROM
                                                      )   DECEMBER 21, 2018 TO FEBRUARY 27, 2019;
15      v.                                            )   [PROPOSED] ORDER
                                                      )
16   BRANDON FRERE,                                   )
                                                      )
17           Defendant.                               )
                                                      )
18

19           It is hereby stipulated by and between counsel for the United States and counsel for the
20 defendant, Brandon Frere, that time be excluded under the Speedy Trial Act from December 21, 2018

21 through February 27, 2019.

22           The parties appeared for a status conference on December 21, 2018 and requested a continuance
23 until February 27, 2019 for further status. The defendant again waived the time for a preliminary

24 hearing on the Complaint under Rule 5.1 of the Federal Rules of Criminal Procedure until the next status

25 conference. The Court granted the request for a continuance.

26           The parties hereby request that the time from December 21, 2018 through and including
27 February 27, 2019 be excluded under the Speedy Trial Act in light of the complexity of the case (which

28 the government believes involves in excess of 40,000 victims and tens of thousands of pages of

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
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 1 documents), the time available for indictment, and for effective preparation of counsel.

 2          The parties therefore stipulate and agree that excluding time from December 21, 2018 through

 3 and including February 27, 2019 will allow for the effective preparation of counsel and is appropriate

 4 based on the complexity of the case and the amount of time necessary to return and file an indictment

 5 under the circumstances within the time specified by 18 U.S.C. § 3161(b). See 18 U.S.C.

 6 §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii), 3161(h(7)(B)(iv); see also United States v. Pete, 525 F.3d 844,

 7 852-53 (9th Cir. 2008) (“the STA makes no distinction regarding the applicability of the exclusions

 8 under § 3161(h)(1) to the pre-indictment period (governed by § 3161(b)) and the pretrial period

 9 (governed by §§ 3161(c) and (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir. 1985) (“In

10 cases of relative complexity, with multiple defendants and ongoing investigations such as here, it may

11 be quite unreasonable to expect the preparation and return of an indictment within thirty days… In the

12 case at bar, efficiency and economy were definitely served by the sixty day extension.”).

13           The parties further stipulate and agree that the ends of justice served by excluding the time from

14 December 21, 2018 through and including February 27, 2019 from computation under the Speedy Trial

15 Act outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

16 3161(h)(7)(A), (B)(ii)-(iv).

17          The undersigned Assistant United States Attorney certifies that he has obtained approval from

18 counsel for the defendant to file this stipulation and proposed order.

19

20          SO STIPULATED.

21

22 DATED: December 24, 2018                                        /s/
                                                          SCOTT D. JOINER
23                                                        Assistant United States Attorney
24

25 DATED: December 24, 2018                                        /s/
                                                          EDWARD W. SWANSON
26                                                        SWANSON & MCNAMARA LLP
                                                          Counsel for Defendant Brandon Frere
27

28

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
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 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made by the

 3 parties on December 21, 2018 and for good cause shown, the Court finds that failing to exclude the time

 4 from December 21, 2018 through and including February 27, 2019, would unreasonably deny defense

 5 counsel and the defendant the reasonable time necessary for effective preparation, taking into account

 6 the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court also finds that excluding the

 7 time from December 21, 2018 through and including February 27, 2019, is appropriate in light of the

 8 complexity of the case, which the government represents involves in excess of 40,000 victims and tens

 9 of thousands of pages of documents, and the amount of time necessary to return and file an indictment

10 under the circumstances within the time specified by 18 U.S.C. § 3161(b). See 18 U.S.C.

11 §§ 3161(h)(7)(B)(ii), 3161(h)(7)(B)(iii); see also United States v. Pete, 525 F.3d 844, 852-53 (9th Cir.

12 2008) (“the STA makes no distinction regarding the applicability of the exclusions under § 3161(h)(1) to

13 the pre-indictment period (governed by § 3161(b)) and the pretrial period (governed by §§ 3161(c) and

14 (e)).”); United States v. Murray, 771 F.2d 1324, 1328 (9th Cir. 1985) (“In cases of relative complexity,

15 with multiple defendants and ongoing investigations such as here, it may be quite unreasonable to expect

16 the preparation and return of an indictment within thirty days… In the case at bar, efficiency and

17 economy were definitely served by the sixty day extension.”).

18           The Court further finds that the ends of justice served by excluding the time from December 21,

19 2018 through and including February 27, 2019 from computation under the Speedy Trial Act outweigh

20 the best interests of the public and the defendant in a speedy trial. Therefore, and with the consent of the

21 parties, IT IS HEREBY ORDERED that the time from December 21, 2018 through and including

22 February 27, 2019 shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §§

23 3161(h)(7)(A), (B)(ii)-(iv). The Court also orders that the time for a preliminary hearing be extended

24 under Rule 5.1 of the Federal Rules of Criminal Procedure.

25          IT IS SO ORDERED.

26

27 DATED: ___________________                                    ___________________________
                                                                 HON. SALLIE KIM
28                                                               UNITED STATES MAGISTRATE JUDGE
     [PROPOSED] ORDER EXCLUDING TIME
     CR 18-MJ-71724 SK
